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United States District Court
District of Massachusetts

UNITED STATES OF AMERICA,

v.
Criminal Action No.
EDGAR BELIS, 17-10042-NMG

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is the motion of defendant Edgar
Belis (“Belis” or “defendant”) for a reduction of sentence
pursuant to 28 U.S.C. §2255 (Docket No. 121).

In April, 2018, defendant pled guilty to one count of
possession with intent to distribute fentanyl and cocaine, in
violation of 21 U.S.C. §841(a) (1), and one count of felon in
possession of a firearm and ammunition, in violation of 18
U.S.C. § 922(g) (1) (Docket No. 76). Later that year, this Court
sentenced defendant to a term of imprisonment of 228 months, 5
years of supervised release, and a $200 special assessment
(Docket No. 93), plus forfeiture (Docket No. 100).

Defendant now moves for a reduction of his sentence based
on an anticipated change in his status as both an armed career
criminal and career offender under the United States Sentencing
Guidelines (“U.S.S.G.” or “the Guidelines”). Defendant also

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requests that this Court stay the proceedings while he appeals
his state court convictions. For the following reasons,
defendant’s motion will be denied for lack of jurisdiction.

Defendant qualified as both a career offender and an armed
career offender at the time of his sentencing due to four
predicate convictions. PSR, §{43, 46, 47, 49, 52-53. His
resulting guidelines range was 262 to 327 months of
incarceration. Id., qs6. Defendant asserts that his adjusted
guidelines range should be 120 to 135 months after he
successfully overturns all four of his predicate convictions.
Docket No. 128 at 6.

As of November 24, 2021, when defendant filed his motion,
he had successfully overturned one conviction and was in the
process of challenging two more. Docket No. 121, 48. On August
1, 2022, defendant reported that a second conviction had been
vacated but that his third challenge remained outstanding and he
intended to challenge a fourth conviction. Docket No. 122.
Defendant's most recent status report, filed October 11, 2024,
confirms that there has been no resolution to his final two
appeals. Docket No. 134, 47.

This Court lacks subject matter jurisdiction to consider

defendant’s motion because it is not ripe for review. See Abbott

Laboratories v. Gardner, 387 U.S. 136, 148 (1967). At the time

of his initial filing, defendant acknowledged that his claim was

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not ripe because he had overturned only one of four predicate
convictions. ECF No. 121, § 11. His proposed reason for the
premature filing was

to ensure that [his] rights pursuant to 28 U.S.C. §

2255 are sufficiently preserved so that if the issue

becomes ripe in the future, that this filing stands as

a time marker so that the Court and the government are

aware of Mr. Belis’s continued efforts towards

vacateur[sic] of his prior state convictions.
Docket No. 121, 411.

By March, 2023, when defendant filed his memorandum in
support of his motion, a second conviction had been vacated but
the Massachusetts Superior Court for Suffolk County had rejected
his motion to vacate his third conviction. Docket No. 128 at 2.
Belis filed an appeal that was unopposed by the Commonwealth,
but the appellate court had yet to rule. Id. Nevertheless,
defendant erroneously asserted that his §2255 motion was ripe
for adjudication because “it appear[ed] that the appeal should
be granted.” Id. Defendant cited the government’s assent to his
motion in support of his speculation that he would succeed on
appeal. Id.

Defendant’s third and fourth convictions were not then, and
have not yet been, overturned. Despite his speculation, until
such time as the state courts vacate all predicate convictions,

this Court may not review defendant’s motion based on “uncertain

and contingent events that may not occur as anticipated or
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indeed may not occur at all.” Gilday v. Dubois, 124 F.3d 277,

295 (1st Cir. 1997).

Defendant cannot preserve claims under §2255 simply by
filing a “placeholder motion” but, in any event, he need not do
so. Defendant challenges his sentence under the fourth prong of
§2255, which applies to

assignments of error that reveal “fundamental

defect[s]” which, if uncorrected, will “result[] ina

complete miscarriage of justice.”

David v. United States, 134 F.3d 470, 474 (lst Cir. 1998)

(alterations in original) (quoting Hill v. United States, 368

U.S. 424, 428 (1962). Section 2255 imposes a one-year period of
limitation for such claims, starting from

the date on which the facts supporting the claim or

claims presented could have been discovered through

the exercise of due diligence.
28 U.S.C. § 2255(f) (4).

A fact that triggers the limitations period is the vacatur

of a state conviction, so long as the defendant challenged the

conviction with due diligence. Johnson v. United States, 544,

U.S. 295, 298 (2005). Belis will, therefore, have one year to
file his claim from the time when, and if, his fourth predicate
conviction is vacated. His only obligation will be to show to a
Court of competent jurisdiction that he used due diligence in

exercising his right of appeal.
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ORDER
For the reasons stated in the Memorandum, defendant’s
motion for reduction of sentence pursuant to 28 U.S.C. §2255

(Docket No. 121) is DENIED for lack of jurisdiction.

So ordered.

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Nathaniel M. Go¥ton
United States District Judge
Dated: October 3/ , 2024
